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                                       XARELTO LITIGATION

                      EXPERT REPORT OF RANDY C. ROTH, M.D., FHM



  I.     QUALIFICATIONS

         I am the Chief Medical Officer for the Singing River Health System and the former

  Clinical Director of Hospital Services within the same system. I currently serve as a consultant in

  the Hospitalist Medicine area and am Medical Director of Inpatient Physician Services.

         I received my medical degree from the University of Alabama School of Medicine in 1993

  and followed that with an internship and residency at Baylor University Medical Center.

         I practice medicine in Mississippi; I am also licensed to practice in Alabama and Texas.

         My Curriculum Vitae is attached as Exhibit A. My hourly rate for medical legal matters is

  $500 per hour for chart review and preparation for reports. My hourly rate for depositions and

  trial time is an increased rate of $750 an hour, because it requires me to take time off from my

  Chief Medical Officer and Hospitalist duties. I have not provided trial and/or deposition

  testimony in the last four years.

         I have reviewed various materials in preparation for this report, including medical records

  of Dora Mingo and all deposition testimony taken in her legal case. A list of materials which I

  rely upon in forming my opinions is attached as Exhibit B. In addition to the materials in

  Exhibit B, I incorporate and rely upon my background, education, training, and clinical experience

  in reaching the opinions offered in this report. I offer the opinions in this report to a reasonable

  degree of medical certainty.

  II.    Venous Thromboembolism

         Deep venous thrombosis and acute pulmonary embolism are two manifestations of the

  same disorder, venous thromboembolism (VTE). Deep vein thrombosis of the lower extremity is
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  further divided into two categories, distal vein thrombosis and proximal vein thrombosis which

  involve the popliteal, femoral, or iliac veins. Ninety percent of the cases of acute pulmonary

  emboli are emboli that started in the proximal basal lower extremities. Anticoagulation is highly

  effective and the standard of care for both deep vein thrombosis with or without pulmonary

  embolism.

         The causes of deep vein thrombosis are well-studied and described in the literature. The

  major theory delineating the pathogenesis of venous thromboembolism is called Virchow’s triad.

  This triad consists of alterations of blood flow (stasis), vascular endothelial injury, and, lastly,

  inherited or acquired hypercoagulable states. Risk factors for deep vein thrombosis include

  malignancy, central venous catheters, orthopedic surgeries, trauma, pregnancy, certain

  medications, mobilization, nephrotic syndrome, as well as the inherited deficiencies in the clotting

  cascade.

         One well-known risk factor for deep vein thrombosis with or without pulmonary embolic

  disease is total hip arthroplasty. Thromboembolic disease is the complication that presents the

  highest risk of perioperative mortality following total hip replacement. The combination of stasis

  due to torsion of the lower limb during surgery, as well as intimal injury to the vessels, has been

  implicated in the etiology of deep vein thrombosis with or without pulmonary embolic disease

  after hip arthroplasty. Without thromboprophylaxis, perioperative mortality from pulmonary

  embolus occurs in 2-3 percent of patients. With thromboprophylaxis, that percentage drops to 0.1.

         The diagnosis of deep vein thrombosis is relatively easy to make, especially as noninvasive

  technology continues to improve. In most cases, compression ultrasonography is a noninvasive

  approach in the choice for the diagnosis of patients with deep vein thrombosis.




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         The primary objective for the treatment of deep vein thrombosis is based upon avoiding

  long-term complications that include clot extension, pulmonary embolic disease, massive

  thrombosis with acute lower limb ischemia acutely to venous gangrene, and, lastly, limiting the

  development of long-term complications such as pulmonary hypertension. Anticoagulation

  therapy is indicated for patients with proximal, symptomatic deep vein thrombosis, because

  pulmonary embolism will occur approximately 50 percent of the time if the individual remains

  untreated.

         Physicians have several pharmacologic options for the treatment of deep vein thrombosis.

  These include low molecular weight heparins, traditional unfractionated heparins, vitamin K

  antagonist (Coumadin), and the direct oral anticoagulants (DOACs). The DOACs are direct

  factor Xa and thrombin inhibitors and include agents like apixaban (Eloquis), dabigatran

  (Pradaxa), and rivaroxaban (Xarelto). Most all of these agents are clinically indicated and

  approved for treatment of such maladies as atrial fibrillation, deep vein thrombosis with or without

  pulmonary embolism and postoperative prophylaxis in orthopedic patient population, including

  both total hip replacement and total knee replacement.

         Selection of which agent to use in these clinical scenarios depends on numerous factors.

  These factors include the extent of vascular compromise, the probability of compliance with

  medications, drug-drug interactions, ability to get blood testing done frequently, and doctor and

  patient preference. All of these agents have FDA approval for the treatment of deep vein

  thrombosis with or without pulmonary embolism, and it is up to the physician to consider possible

  drug interactions, compliance, and other risks when counseling a patient and deciding which to

  prescribe.




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  III.    DORA MINGO

          I reviewed Ms. Mingo’s medical records. She underwent a total hip replacement on

  January 6, 2015, at St. Dominic-Jackson Memorial Hospital by Drs. Gandy and Davis. Leading

  up to her surgery, Ms. Mingo had been prescribed several medications, including, but not limited

  to, Anaprox, aspirin therapy, metformin, and Azor. Following her surgery, Ms. Mingo was started

  on Lovenox for deep vein thrombosis prophylaxis postoperatively while in the hospital. At the

  time of her discharge on January 9, 2015, she was prescribed seven days of Lovenox, 40 mg

  subcutaneously daily, and then she was to transition to aspirin 325. Assuming compliance by

  Ms. Mingo, she would have completed her outpatient regimen of Lovenox on or about January 16,

  2015.

          On January 22, 2015, she presented to the emergency department at Southwest Mississippi

  Regional Medical Center complaining of bilateral lower extremity edema. She was found to have

  deep venous thrombosis through compression ultrasonography. According to the medical records,

  Ms. Mingo had several risk factors for deep vein thrombosis, including stasis, obesity, and a recent

  major orthopedic surgery. Ms. Mingo was administered Lovenox 89 mg subcutaneously and

  Coumadin 10 mg orally upon admission to the hospital on January 22, 2015. The next day, Dr.

  Renie Jordon prescribed Xarelto, an oral agent factor Xa inhibitor, 15 mg twice daily for 21 days,

  and then transition to 20 mg a day.

          Ms. Mingo went to King’s Daughters Medical Center emergency room in Brookhaven,

  Mississippi, on February 2, 2015. The medical records indicate that she had bilateral lower

  extremity swelling. At the time, her hematocrit was 27.2 percent and her hemoglobin was 8.6.

  The records indicate that she had normal renal function. Her stool was heme-test positive. This

  indicates blood in the stool. While at King’s Daughters Medical Center, Ms. Mingo had a nuclear


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  scan (tagged red blood cell test). The results of this test showed no evidence of active bleeding.

  Ms. Mingo was discharged with instructions to continue Xarelto and aspirin and to see her

  primary care physician the next day.

         On February 3, 2015, Ms. Mingo presented to Dr. Jennifer Gholson’s office where she was

  seen by nurse practitioner Zachary. At that time her hematocrit was 28 percent. Ms. Mingo was

  told to decrease her aspirin from 325 mg to 81 mg and she was referred to a gastroenterologist for

  evaluation of anemia.

         On February 10, 2015, Ms. Mingo presented to the office of gastroenterologist Dr. Stephen

  Keith where she was seen by nurse practitioner Thornton for blood in stool and low blood count. It

  was noted that Ms. Mingo had anemia, non-specific abnormal findings in her stool, and a large

  abdominal wall hernia. A colonoscopy and EGD were to be scheduled.

         On February 12, 2015, Ms. Mingo had follow-up labs drawn at Dr. Gholson’s office. At

  that time, her hematocrit was 19.8 percent and her hemoglobin 5.8. On February 13, 2015, nurse

  practitioner Zachary of Dr. Gholson’s office arranged for Ms. Mingo to have medical admission to

  Southwest Mississippi Regional Medical Center. The chief complaint was anemia. Ms. Mingo

  was transfused four units of packed red blood cells and two units of fresh frozen plasma.

         On February 13, 2015, Ms. Mingo underwent an endoscopy, which revealed a slowly

  oozing gastric ulcer. The ulcer was cauterized and a clip was placed on it. Ms. Mingo remained

  in the hospital for two days.

         In May 2015, a repeat scope was performed indicating that Ms. Mingo’s ulcer was healing.

  She had no repeat transfusions or any additional episodes.




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  IV.    OPINIONS AND CONCLUSIONS

         A.    Post-total hip replacement surgery, Ms. Mingo was prescribed Lovenox and 325

               aspirin prophylactically to prevent the development of a deep vein thrombosis.

               This regime failed. Xarelto, in a therapeutic dose, was an appropriate choice for

               treatment of Ms. Mingo’s deep vein thrombosis.

         B.    Ms. Mingo’s deep vein thrombosis was related to her total hip arthroplasty, which

               was done on January 6, 2015.

         C.    Ms. Mingo’s slowly oozing gastric ulcer is most likely a result of her use of

               nonsteroidals in the preoperative setting along with her ongoing aspirin therapy.

         D.    Ms. Mingo’s use of Xarelto for treatment of a deep vein thrombosis most likely

               unmasked the slowly bleeding gastric ulcer; the use of any anticoagulant to treat the

               deep vein thrombosis would most likely have resulted in the same oozing of the

               underlying gastric ulcer.

         E.    Increased risk of bleeding is a well-known and warned about side effect of Xarelto.

         F.    Ms. Mingo’s gastric ulcer was treated appropriately and resulted in no long-term

               adverse health sequelae.




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                                     EXHIBIT A




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RANDY C. ROTH, M.D., FHM

       PRIMARY SPECIALTY
                Internal Medicine - Board Certified 1996, Re-Certification 2005

       LICENSED TO WORK IN
                ALABAMA, MISSISSIPPI, TEXAS

       EMPLOYMENT HISTORY
                Chief Medical Officer                                                March 2014-Present
                Singing River Health System                                       Pascagoula, Mississippi

                Clinical Director of Hospital Services                            March 2013-March 2014
                Singing River Health System                                       Pascagoula, Mississippi

                Consultant                                                             May 2002-Present
                Hospitalist Medicine                                              Pascagoula, Mississippi

                Medical Director                                                   February 1999-Present
                Inpatient Physician Services, Singing River Health System         Pascagoula, Mississippi

                Internal Medicine                                                             1996-1999
                Private Practice                                                  Pascagoula, Mississippi

                Hospitalist Locum Tenens                                                      1995-1996
                Hospitalist                                                               Denison, Texas

                Garland Family Practice Health Center                                         1994-1996
                Staff Physician                                                             Dallas, Texas

                Research Assistant                                                         1988 to 1989
                LSU Medical Center: Department of Hematology/Oncology             New Orleans, Louisiana

       EDUCATION
             Residency
                Baylor University Medical Center                                              1994-1996
                Internal Medicine                                                           Dallas, Texas

             Internship
                Baylor University Medical Center                                              1993-1994
                Internal Medicine                                                           Dallas, Texas

             Medical School
                University of Alabama School of Medicine                                      1990-1993
                Doctor of Medicine                                                  Birmingham, Alabama

                Louisiana State University                                                    1989-1990
                Doctor of Medicine                                                New Orleans, Louisiana




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         EDUCATION CONTINUED

              College
                 Rhodes College                                                               1984-1988
                 Bachelor of Science Biology                                          Memphis, Tennessee

         PROFESSIONAL SOCIETIES
                 ▪   Gulf States Hospitalist Society, President
                 ▪   Mississippi Medical Association
                 ▪   Society of Hospitalist Medicine
                 ▪   Mississippi Medical Society
                 ▪   American Medical Association
                 ▪   Pascagoula Rotary Club

         PRESENTATIONS
                 UPON REQUEST: SUBJECTS INCLUDING: TOTAL QUALITY MANAGEMENT,
                 IMPLEMENTATION OF HOSPITALIST PROGRAMS, DVT MANAGEMENT,
                 CLINICAL DOCUMENTAION, ETC.

         CME PRESENTATIONS
                  IPS GRAND ROUNDS                                                            1999-2005
                 Inpatient Physician Services
                     Over 100 hours of CME presented on topics covering Hospital Medicine.
                     Topics presented under separate cover, available on request.


         COMMITTEE AND ADMINISTRATIVE SERVICE

                 CHIEF OF STAFF, 2007-2009
                 MEDICAL EXECUTIVE COMMITTEE
                 INTERNAL MEDICINE, CHAIRMAN
                 MEDICAL STAFF QUALITY REVIEW BOARD
                 1NE COLLABORATIVE TEAM MEETING, CHAIRMAN
                 SRHS ADMINISTRATIVE RETREAT, FACULTY

                 REDESIGNED COMMITTEES:
                  TOTAL QUALITY MANAGEMENT, CHAIRMAN
                   SRHS JOINT CREDENTIALS COMMITTEE
                   COMBINED PEER REVIEW


         RESEARCH
                 ROTHCHILD, HENRY, M. D., ROTH, RAND C.                                            1990
                    Clinical Interviewing: A computer program for Medical Students




                                                                                                      USCA5 3202
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         RESEARCH CONTINUED
                 RESEARCH ASSOCIATE                                                              1988-1989
                 Louisiana State University Medical Center
                  Department of Hematology/Oncology

                       ▪   Coordinated lab work and animal research for effects of Methotrexate on fetal
                           hemoglobin production.

                       ▪   Coordinated clinical research on prevalence of sickle cell trait in population of
                           Medical Centers of Louisiana

         PUBLICATIONS
                 Veith, R., Dautenhahn, A. G. and Roth, R. C. "Methotrexate Stimulates Fetal Hemoglobin
                 Production in Anemic Baboons." Journal of Cellular and Molecular Mechanisms, pp 363-370,
                 1989


         ACTIVITIES

                 ▪    Chairman, Resurrection Catholic School Fund Raising Campaign
                 ▪    Athletic Director/Coach Resurrection Catholic School
                 ▪    Commodore, Singing River Yacht Club
                 ▪    Rhodes College Alumni Association
                 ▪    Diocese of Biloxi, School Board

         PERSONAL INFORMATION
                 Date of Birth:
                 Gender:                      Male
                 Home Town:                   New Orleans, Louisiana
                 Marital Status:              Married
                 Spouse's Name:
                 Spouse's Occupation:         M. D. - OB/GYN
                 Spouse's Home town:
                 Children:




         REFERENCES

                 Available upon request.




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                                     EXHIBIT B




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                 MATERIALS RELIED ON, REVIEWED, AND/OR CONSIDERED
                                BY RANDY ROTH, MD


   All materials referenced and/or discussed within the report are incorporated. In addition to the
   materials specifically referenced within the report, the other materials relied on, reviewed, and/or
   considered are as follows:

   Depositions Transcripts:
      • Dora Mingo
      • Jileta Mingo
      • Stephen Keith, MD
      • Renie Jordon, MD

   Product Labels
   Xarelto Label (08-2013)
   Xarelto Label (01-2014)
   Medical Records
   All medical records for Dora Mingo
   Medical-Legal Report
   Case-Specific Mingo Report of Henry Michael Rinder, MD (11-30-2016)
   Medical Literature
   Rivaroxaban-once daily, oral, direct factor Xa inhibition compared with vitamin K antagonism
   for prevention of stroke and Embolism Trial in Atrial Fibrillation: rationale and design of the
   ROCKET AF study. Am Heart J. 2010;159(3):340-347.e1.
   Patel MR, Mahaffey KW, Garg J, et al. Rivaroxaban versus warfarin in nonvalvular atrial
   fibrillation. N Engl J Med. 2011;365(10):883-91.
   Bansilal S, Bloomgarden Z, Halperin JL, et al. Efficacy and safety of rivaroxaban in patients
   with diabetes and nonvalvular atrial fibrillation: the Rivaroxaban Once-daily, Oral, Direct Factor
   Xa Inhibition Compared with Vitamin K Antagonism for Prevention of Stroke and Embolism
   Trial in Atrial Fibrillation (ROCKET AF Trial). Am Heart J. 2015;170(4):675-682.e8.
   Patel MR, Hellkamp AS, Fox KA. Point-of-Care Warfarin Monitoring in the ROCKET AF Trial.
   N Engl J Med. 2016;374(8):785-8.




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